           Case 20-10643-pmm                    Doc       Filed 12/20/24 Entered 12/20/24 11:11:01                              Desc Main
                                                          Document      Page 1 of 3
Fill in this information to identify the case

Debtor 1 Sharifah R. Patience

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: EASTERN District of PENNSYLVANIA
                                                                        (State)
Case number 20-10643


Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

Part 1:            Mortgage Information

Name of creditor: Nationstar Mortgage LLC                                                                                 Court claim no. (if known):
                                                                                                                          5
Last 4 digits of any number you use to identify the debtor's account: 4036

Property address: 620 East Johnson Street
                   Number             Street



                      Philadelphia PA 19138
                          City                                   State              Zip Code

Part 2:            Prepetition Default Payments
Check one:

      Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the
      creditor's claim.

      Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
      the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this                   $ __________
      response is:

Part 3:            Postpetition Mortgage Payment

Check one:
      Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
      Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on:                  12/01/2024
                                                                                   MM/DD/YYYY

      Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
      the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a.     Total postpetition ongoing payments due:
                                                                                                                                     (a) $__________
      b.     Total fees, charges, expenses, escrow, and costs outstanding:
                                                                                                                                     (b) $__________
      c.     Total. Add lines a and b.
                                                                                                                                     (c) $__________
      Creditor asserts that the debtor(s) are contractually
      obligated for the postpetition payment(s) that first became due on:          ___/___/____
                                                                                   MM/DD/YYYY


Form 4100R                                         Response to Notice of Final Cure Payment                                                   page 1



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             Case 20-10643-pmm                       Doc      Filed 12/20/24 Entered 12/20/24 11:11:01                    Desc Main
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Debtor 1          Sharifah R. Patience                                         Case number (if known) 20-10643
            First Name                      Middle Name          Last Name



Part 4:              Itemized Payment History
  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
       all payments received;
       all fees, costs, escrow, and expenses assessed to the mortgage; and
       all amounts the creditor contends remain unpaid.


Part 5:              Sign Here

  The person completing this response must sign it. The response must be filed as a supplement to the creditor's proof of
  claim.
  Check the appropriate box.
           I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X    /s/Stephen R. Franks                                                         Date     12/20/2024
      Signature
                          Stephen R. Franks
  Print:                                                                            Title    Attorneys for Creditor

  Company                  MDK Legal

  Address                  P.O. Box 165028
                         Number             Street

                           Columbus, OH 43216-5028
                         City                         State        ZIP Code

  Contact phone            614-220-5611                                             Email     amps@manleydeas.com

Form 4100R                                              Response to Notice of Final Cure Payment                                  page 2




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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                :
                                      : Case No.: 20-10643
Sharifah R. Patience                  : Chapter 13
                                      : Judge Patricia M. Mayer
                            Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                      :
Nationstar Mortgage LLC               : Related Document #
                             Movant, :
       vs                             :
                                      :
Sharifah R. Patience                  :
Kenneth E. West                       :
                         Respondents. :
                                      :
                                 CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Response to Notice of Final

Cure was filed electronically. Notice of this filing will be sent to the following parties through

the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   Kenneth E. West, Chapter 13 Trustee, ecfemails@ph13trustee.com

   MICHAEL A. CIBIK, Attorney for Sharifah R. Patience, help@cibiklaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Sharifah R. Patience, 620 East Johnson Street, Philadelphia, PA 19138


                                                       /s/Stephen R. Franks




23-029818_JMK
